    Case 3:17-cv-00072-NKM-JCH Document 269 Filed 03/14/18 Page 1 of 1 Pageid#: 1953

l
                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE W ESTERN DISTRICT OF W RGINIA
!                                   CH ARLO TTESVILLE DIV ISION
l
       Elizabeth Sines etal,

                               Plaintiffts)
                                                        CivilA ction No.3:17-cv-00072

       Jason K essler etal,
                                                    )
                                Defendantts).       )

                                    CLERF SENTRY OF DEFAULT
             The above action wassled in tilisCourton October
                                                      ''              11, 2017.   The Defendarltts)East
       CoastKnightsoftheKu Klux Klan was/were served onthefollowing dates,andthePlaintiffhaz
       provided to the cotu'tarlafûdavitand/or other evidence dem onstrating proper service ofthe
       complaintonDefendantts):

       EastCo%tKnightso?theKuKluxKlan               February1,2018

              Thetimeforthedefendantts)to appear,answerorothem isedefend,havingexpired,the
       undersignedClerkdoesherebyenterdefaultastothefollowingdefendrtts):
                                   EastCoastKnightsoftheKuKlux Klan


              SeeFederalRulesofCivilProcedm'e,Rule55(a).
              CopiesofthisEntry ofDefatzltshallbeprovidedto al1counselofrecord andtothe
       Defendantts).

                                                        JULIA C.DUDLEY,PLERK

                                                        By:       '
                                                              p       ty   erk
